Case 3:18-cv-00141-N Document 33 Filed 04/26/19   Page 1 of 57 PageID 377
Case 3:18-cv-00141-N Document 33 Filed 04/26/19   Page 2 of 57 PageID 378
Case 3:18-cv-00141-N Document 33 Filed 04/26/19   Page 3 of 57 PageID 379
Case 3:18-cv-00141-N Document 33 Filed 04/26/19   Page 4 of 57 PageID 380
Case 3:18-cv-00141-N Document 33 Filed 04/26/19   Page 5 of 57 PageID 381
Case 3:18-cv-00141-N Document 33 Filed 04/26/19   Page 6 of 57 PageID 382
Case 3:18-cv-00141-N Document 33 Filed 04/26/19   Page 7 of 57 PageID 383
Case 3:18-cv-00141-N Document 33 Filed 04/26/19   Page 8 of 57 PageID 384
Case 3:18-cv-00141-N Document 33 Filed 04/26/19   Page 9 of 57 PageID 385
Case 3:18-cv-00141-N Document 33 Filed 04/26/19   Page 10 of 57 PageID 386
Case 3:18-cv-00141-N Document 33 Filed 04/26/19   Page 11 of 57 PageID 387
Case 3:18-cv-00141-N Document 33 Filed 04/26/19   Page 12 of 57 PageID 388
Case 3:18-cv-00141-N Document 33 Filed 04/26/19   Page 13 of 57 PageID 389
Case 3:18-cv-00141-N Document 33 Filed 04/26/19   Page 14 of 57 PageID 390
Case 3:18-cv-00141-N Document 33 Filed 04/26/19   Page 15 of 57 PageID 391
Case 3:18-cv-00141-N Document 33 Filed 04/26/19   Page 16 of 57 PageID 392
Case 3:18-cv-00141-N Document 33 Filed 04/26/19   Page 17 of 57 PageID 393
Case 3:18-cv-00141-N Document 33 Filed 04/26/19   Page 18 of 57 PageID 394
Case 3:18-cv-00141-N Document 33 Filed 04/26/19   Page 19 of 57 PageID 395
Case 3:18-cv-00141-N Document 33 Filed 04/26/19   Page 20 of 57 PageID 396
Case 3:18-cv-00141-N Document 33 Filed 04/26/19   Page 21 of 57 PageID 397
Case 3:18-cv-00141-N Document 33 Filed 04/26/19   Page 22 of 57 PageID 398
Case 3:18-cv-00141-N Document 33 Filed 04/26/19   Page 23 of 57 PageID 399
Case 3:18-cv-00141-N Document 33 Filed 04/26/19   Page 24 of 57 PageID 400
Case 3:18-cv-00141-N Document 33 Filed 04/26/19   Page 25 of 57 PageID 401
Case 3:18-cv-00141-N Document 33 Filed 04/26/19   Page 26 of 57 PageID 402
Case 3:18-cv-00141-N Document 33 Filed 04/26/19   Page 27 of 57 PageID 403
Case 3:18-cv-00141-N Document 33 Filed 04/26/19   Page 28 of 57 PageID 404
Case 3:18-cv-00141-N Document 33 Filed 04/26/19   Page 29 of 57 PageID 405
Case 3:18-cv-00141-N Document 33 Filed 04/26/19   Page 30 of 57 PageID 406
Case 3:18-cv-00141-N Document 33 Filed 04/26/19   Page 31 of 57 PageID 407
Case 3:18-cv-00141-N Document 33 Filed 04/26/19   Page 32 of 57 PageID 408
Case 3:18-cv-00141-N Document 33 Filed 04/26/19   Page 33 of 57 PageID 409
Case 3:18-cv-00141-N Document 33 Filed 04/26/19   Page 34 of 57 PageID 410
Case 3:18-cv-00141-N Document 33 Filed 04/26/19   Page 35 of 57 PageID 411
Case 3:18-cv-00141-N Document 33 Filed 04/26/19   Page 36 of 57 PageID 412
Case 3:18-cv-00141-N Document 33 Filed 04/26/19   Page 37 of 57 PageID 413
Case 3:18-cv-00141-N Document 33 Filed 04/26/19   Page 38 of 57 PageID 414
Case 3:18-cv-00141-N Document 33 Filed 04/26/19   Page 39 of 57 PageID 415
Case 3:18-cv-00141-N Document 33 Filed 04/26/19   Page 40 of 57 PageID 416
Case 3:18-cv-00141-N Document 33 Filed 04/26/19   Page 41 of 57 PageID 417
Case 3:18-cv-00141-N Document 33 Filed 04/26/19   Page 42 of 57 PageID 418
Case 3:18-cv-00141-N Document 33 Filed 04/26/19   Page 43 of 57 PageID 419
Case 3:18-cv-00141-N Document 33 Filed 04/26/19   Page 44 of 57 PageID 420
Case 3:18-cv-00141-N Document 33 Filed 04/26/19   Page 45 of 57 PageID 421
Case 3:18-cv-00141-N Document 33 Filed 04/26/19   Page 46 of 57 PageID 422
Case 3:18-cv-00141-N Document 33 Filed 04/26/19   Page 47 of 57 PageID 423
Case 3:18-cv-00141-N Document 33 Filed 04/26/19   Page 48 of 57 PageID 424
Case 3:18-cv-00141-N Document 33 Filed 04/26/19   Page 49 of 57 PageID 425
Case 3:18-cv-00141-N Document 33 Filed 04/26/19   Page 50 of 57 PageID 426
Case 3:18-cv-00141-N Document 33 Filed 04/26/19   Page 51 of 57 PageID 427
Case 3:18-cv-00141-N Document 33 Filed 04/26/19   Page 52 of 57 PageID 428
Case 3:18-cv-00141-N Document 33 Filed 04/26/19   Page 53 of 57 PageID 429
Case 3:18-cv-00141-N Document 33 Filed 04/26/19   Page 54 of 57 PageID 430
Case 3:18-cv-00141-N Document 33 Filed 04/26/19   Page 55 of 57 PageID 431
Case 3:18-cv-00141-N Document 33 Filed 04/26/19   Page 56 of 57 PageID 432
Case 3:18-cv-00141-N Document 33 Filed 04/26/19   Page 57 of 57 PageID 433
